Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 1 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 2 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 3 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 4 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 5 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 6 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 7 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 8 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 9 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 10 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 11 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 12 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 13 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 14 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 15 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 16 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 17 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 18 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 19 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 20 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 21 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 22 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 23 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 24 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 25 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 26 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 27 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 28 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 29 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 30 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 31 of 32
Case:23-01816-MAG7 Doc#:1 Filed:06/15/23 Entered:06/15/23 14:34:58   Desc: Main
                         Document Page 32 of 32
